1

2

3

4

5

6
                                       EXHIBIT D
7

8
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                              11

     Case: 19-30088   Doc# 5578-4   Filed: 01/31/20   Entered: 01/31/20 10:27:48   Page 1
                                             of 5
1
                                                    December 2019
2
                                            Itemized Time Description
3
         DATE       ATTY        DESCRIPTION                                       HOURS   RATE    AMOUNT
4
        12/2/2019   Todderud   Draft emails re escrow disbursement instructions   0.50    $692.00 $346.00
5
                                Correspondence re October monthly fee
6       12/2/2019   Todderud                                                      0.60    $692.00 $415.20
                               statement

7                               Confirm escrow payment to CERS under
        12/2/2019   Todderud                                                      0.50    $692.00 $346.00
                               LADWP settlement
8
                                Integrate comments on Allocation Agreement
        12/2/2019   Todderud                                                      1.60    $692.00 $1,107.20
9                              amendment

10      12/2/2019   Todderud
                                Conferences with counsel for California Parties
                                                                                  0.60    $692.00 $415.20
                               re escrow disbursements for tax payments
11
                                Telephone with J. Ryan (counsel for Edison) re
        12/3/2019   Todderud                                                      0.40    $692.00 $276.80
12                             agreements with suppliers

13                              Telephone with C. Berry (consultant) re
        12/3/2019   Todderud                                                      0.30    $692.00 $207.60
                               amendments to allocation agreements
14
        12/3/2019   Todderud Revise amendment to allocation agreements            5.30    $692.00 $3,667.60
15
                                Edit allocation agreement amendment and
        12/3/2019   Berman                                                        1.20    $920.00 $1,104.00
16                             emails re same.

        12/4/2019   Berman     Edit allocation agreement and emails re same.      0.80    $920.00 $736.00
17
        12/4/2019   Todderud Revise amendment to allocation agreements            2.80    $692.00 $1,937.60
18
                                Review emails re Riverside settlement overlay
19      12/4/2019   Todderud
                               issues
                                                                                  0.40    $692.00 $276.80

20      12/4/2019   Todderud Confirm status of tax disbursements                  0.40    $692.00 $276.80
21      12/5/2019   Todderud Attend settlement overlay call                       1.10    $692.00 $761.20

22      12/5/2019   Todderud Draft settlement overlay filing                      5.90    $692.00 $4,082.80

23      12/5/2019   Berman     Attend weekly settlement overlay call.             1.10    $920.00 $1,012.00

24                              Emails and discussion re Riverside overlay
        12/6/2019   Berman                                                        1.20    $920.00 $1,104.00
                               issues.
25
                                Compile list of fixed-dollar allocations in
26      12/6/2019   Todderud                                                      2.90    $692.00 $2,006.80
                               allocation agreements

27

28                                                          12

     Case: 19-30088     Doc# 5578-4        Filed: 01/31/20        Entered: 01/31/20 10:27:48   Page 2
                                                    of 5
1       12/6/2019   Todderud Draft settlement overlay filing                       3.90   $692.00 $2,698.80

2       12/8/2019   Todderud Draft settlement overlay filing                       2.70   $692.00 $1,868.40

3       12/9/2019   Todderud Attend internal call re status and strategy           0.30   $692.00 $207.60

4                               Prepare report on fixed-dollar allocations under
        12/9/2019   Todderud                                                       2.60   $692.00 $1,799.20
                               allocation agreements
5
        12/9/2019   Todderud Draft settlement overlay filing                       4.10   $692.00 $2,837.20
6       12/9/2019   Berman     Attend weekly FERC strategy call.                   0.30   $920.00 $276.00
7                               Prepare report on fixed-dollar allocations under
        12/10/2019 Todderud                                                        0.80   $692.00 $553.60
                               allocation agreements
8
                                Telephone with C. Berry (consultant) re
9       12/10/2019 Todderud
                               allocation agreements
                                                                                   0.30   $692.00 $207.60

10      12/10/2019 Todderud Draft settlement overlay filing                        2.50   $692.00 $1,730.00

11                              Review PX analysis of process of ceasing
        12/10/2019 Todderud                                                        0.70   $692.00 $484.40
                               operations
12
        12/11/2019 Todderud Draft settlement overlay filing                        3.10   $692.00 $2,145.20
13
        12/11/2019 Todderud Edit amendment to allocation agreements                1.70   $692.00 $1,176.40
14
        12/12/2019 Todderud Attend settlement overlay call                         1.20   $692.00 $830.40
15
        12/12/2019 Todderud Conferences re PX wind-up charges                      0.60   $692.00 $415.20
16
                                Research allocation of PX wind-up charges
        12/12/2019 Todderud                                                        1.60   $692.00 $1,107.20
17                             under allocation agreements

18      12/12/2019 Berman      Prepare for and attend weekly overlay call.         1.20   $920.00 $1,104.00

19      12/12/2019 Berman
                                Emails re settlement mediation and advice re
                                                                                   1.40   $920.00 $1,288.00
                               same.
20
                                Prepare for and attend weekly FERC strategy
        12/16/2019 Berman                                                          0.50   $920.00 $460.00
21                             call.

22      12/16/2019 Todderud Attend internal call re status and strategy            0.40   $692.00 $276.80

23                              Telephone with C. Berry re allocation
        12/17/2019 Todderud                                                        0.70   $692.00 $484.40
                               agreements and escrow accounts
24
                                Draft notice to escrow authorizing call-back
        12/17/2019 Todderud                                                        0.50   $692.00 $346.00
                               confirmations of escrow instructions
25
                                Review text for inclusion in settlement overlay
26      12/17/2019 Todderud
                               filing
                                                                                   1.30   $692.00 $899.60

27

28                                                        13

     Case: 19-30088     Doc# 5578-4        Filed: 01/31/20      Entered: 01/31/20 10:27:48     Page 3
                                                    of 5
1                               Prepare for and attend call with party re overlay
        12/17/2019 Berman                                                             0.80   $920.00 $736.00
                               issues.
2
                                Research and emails re resolution of overlay
        12/17/2019 Berman                                                             2.40   $920.00 $2,208.00
3                              issues.

                                Emails re overlay issues for party and response
4       12/18/2019 Berman                                                             0.80   $920.00 $736.00
                               to same.
5       12/18/2019 Berman      Edit and draft settlement overlay filing.              2.60   $920.00 $2,392.00
6                               Analyze implementation of Enron allocation
        12/18/2019 Todderud                                                           5.10   $692.00 $3,529.20
                               agreement cash distributions and draft summary
7
        12/19/2019 Todderud Attend settlement overlay call                            1.20   $692.00 $830.40
8
        12/19/2019 Todderud Draft amendment to First Interim Fee Petition             1.40   $692.00 $968.80
9
        12/19/2019 Todderud Draft Certificate of No Objection for October fees        0.40   $692.00 $276.80
10
                                Research status of transfer of responsibilities for
11      12/19/2019 Todderud                                                           0.80   $692.00 $553.60
                               escrow

12      12/19/2019 Berman      Draft and edit overlay filing.                         2.80   $920.00 $2,576.00

13      12/19/2019 Berman      Attend weekly settlement overlay call.                 1.20   $920.00 $1,104.00

14      12/19/2019 Berman      Emails with parties re settlement overlay issues.      0.70   $920.00 $644.00

15                             Attend California Parties call re settlement
        12/20/2019 Berman                                                             0.40   $920.00 $368.00
                               mediation.
16
                               Emails and discussion re overlay treatment of
        12/20/2019 Berman                                                             0.80   $920.00 $736.00
17                             CERS amounts.

18      12/20/2019 Berman      Edit overlay filing.                                   2.20   $920.00 $2,024.00

19      12/20/2019 Todderud Attend settlement group call                              0.40   $692.00 $276.80

20                              Draft email re assignment of responsibility for
        12/20/2019 Todderud                                                           0.70   $692.00 $484.40
                               escrow
21
                             Analyze disposition of fixed-dollar allocations
22      12/20/2019 Todderud under allocation agreements and draft email re            1.50   $692.00 $1,038.00
                            same
23
        12/23/2019 Todderud Edit settlement overlay filing                            2.30   $692.00 $1,591.60
24
        12/23/2019 Berman      Emails re settlement mediation.                        0.40   $920.00 $368.00
25      12/24/2019 Berman      Edit/draft settlement overlay filing.                  2.50   $920.00 $2,300.00
26      12/26/2019 Berman      Draft settlement overlay final filing.                 2.60   $920.00 $2,392.00
27

28                                                         14

     Case: 19-30088     Doc# 5578-4        Filed: 01/31/20        Entered: 01/31/20 10:27:48      Page 4
                                                    of 5
1       12/27/2019 Berman      Edit settlement overlay final filing.             4.20    $920.00 $3,864.00

2       12/28/2019 Berman      Draft/edit settlement overlay final filing.       3.80    $920.00 $3,496.00

3       12/29/2019 Berman      Draft settlement overlay filing.                  3.60    $920.00 $3,312.00

4       12/30/2019 Berman      Edit settlement overlay filing.                   4.40    $920.00 $4,048.00

        12/30/2019 Todderud Edit amendment to allocation agreements              2.10    $692.00 $1,453.20
5
        12/31/2019 Berman      Draft and edit settlement overlay filing.         3.50    $920.00 $3,220.00
6
        12/31/2019 Todderud Revise settlement overlay filing                     1.40    $692.00 $968.80
7

8       TOTAL                                                                                  $91,177.20

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                          15

     Case: 19-30088     Doc# 5578-4        Filed: 01/31/20        Entered: 01/31/20 10:27:48   Page 5
                                                    of 5
